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           On 11 January 2021, SAs David Gabriel and Matthew Warren Ray interviewed
        Matt Struck, phone number 303-875-8926, by telephone. After being advised of
        the identities of the interviewing Agents and the nature of the interview,
        Struck provided the following information:

           Struck does media work for Cowboys 4 Trump (variant Cowboys For Trump)
        and traveled to Washington, D.C. with Couy Griffin (Couy) for the 6 January
        2021 rally. Struck met Couy at a previous rally in support of Mike Flynn,
        but Struck actually resides in Colorado. For their trip to Washington D.C.,
        Struck drove down and linked up with Couy in New Mexico. They then traveled
        to DC by road with the Women for America First group.

           The men believed there would be an opportunity for Couy to lead a prayer
        in DC based on a vision another individual had told them about at a rally.
        The purpose of the rally was to express dissatisfaction with the 2020 U.S.
        Presidential Election results. The mood of the crowd was more of calm
        disappointment than violent anger. Many in the crowd were disappointed in
        Vice President Mike Pence in particular.

           After the rally, the men moved towards the Capitol and saw people "where
        they shouldn't be," pushing past barriers and up onto the platform/deck out
        in front of the Capitol. They saw a man up on a wall "speaking the gospel"
        with a loudspeaker and believed he was saying to "step on the mic," which
        aligned with Couy's reason for being there. However, the individual was
        actually saying "step on the bike" encouraging people to use a bike to
        summit the wall and get closer to the building. Struck and Couy climbed up
        the wall and onto the patio. There were barriers and fences and scaffolding
        that many people were climbing over.

           Closer to the Capitol was a man on a megaphone telling people to "move
        forward patriots." The mood still felt like a protest, and they did not feel




   Investigation on    01/11/2021           at   Las Cruces, New Mexico, United States (Phone)

   File #   9E-AQ-3369565, 176-WF-3366759                                                                                    Date drafted    01/12/2021

   by   DAVID S. GABRIEL, Matthew Warren Ray
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                            (U) Interview of Cowboys 4 Trump
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          like the crowd would "terrorize" people. People around them were scaling
          additional walls, but Couy decided they would not do that. Then, a door
          opened which gave them access to the top of the stairs and the outside deck
          of the Capitol via a temporary staircase. Couy got on the wall to face the
          crowd and had a good vantage point. Someone gave him a bullhorn and he was
          able to lead a prayer. They were completely unaware of what was going on
          inside the building, and stayed up on the deck for about 1.5 hours. They
          left unprompted and smelled pepper spray in the air.

             Most of the crowd seemed like normal "Trump rally crowd" but closer into
          the Capitol were guys with gear and backpacks who looked like they were
          "ready for something" and were fit like "stunt men" or "veterans." Struck
          did not see these kinds of people at the initial rally. Struck has footage
          from the outside of the building, but since he and Couy did not enter, they
          could not provide any footage of the interior. While on the deck, Struck
          could hear people yelling "that's Antifa" and encountered a guy who he
          claimed had stolen a police officer's gas mask. This individual is also on
          the footage.

             Struck looked back at the door and saw a big mob scene pulling police
          shields out. At one point a two-story ladder materialized in the crowd, and
          a big gallon-sized tear gas container was also encountered.

             Struck and Couy have not encountered any outreach from radicals. Their
          only real contact has been Annie Cramer (variant Andy Cramer) from March for
          Trump. They stay away from Proud Boys and militia-types, preferring to
          support law enforcement.

             Struck is not planning to go to DC with Couy and is not attending the
          Santa Fe rally. Struck is aware of where the line between free speech and
          threats are, and was concerned that some of Couy's recent comments were
          borderline inappropriate. Facebook has frozen the Cowboys 4 Trump Facebook
          account for "spamming." Struck's phone GPS was on for the duration of the
          trip and can show where they were during the riot. They did not have
          malicious intent, and might have only committed some "minor trespassing"
          onto the steps of the Capitol. Struck offered to provide all video footage
          he had taken.
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                            (U) Interview of Cowboys 4 Trump
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          [Agent Note: Struck provided a drop box link to this media later on 11
          January 2021. This media will be serialized separately. ]
